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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 THOMSON REUTERS ENTERPRISE                       )
 CENTRE GMBH and WEST PUBLISHING                  )
 CORPORATION,                                     )
                                                  )
                        Plaintiffs and            )
                        Counterdefendants,        )
                                                  )
        v.                                        )   C.A. No. 20-613 (SB)
                                                  )
 ROSS INTELLIGENCE INC.,                          )
                                                  )
                        Defendant and             )
                        Counterclaimant.          )

                     JOINT STIPULATION AND ORDER SETTING
                              PRE-TRIAL DEADLINES

       WHEREAS, Plaintiffs Thomson Reuters Enterprise Centre GmbH and West Publishing

Corporation and Defendant ROSS Intelligence, Inc., have conferred concerning scheduling pre-

trial deadlines and submissions for the trial on copyright issues starting on August 23, 2024.

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by the

undersigned counsel for Plaintiffs and Defendant, subject to the approval of the Court, that the

pre-trial schedule be entered as follows:

       Pre-Trial Submission                                           Deadline
       Parties to Exchange Exhibit Lists                              June 25, 2024
       Objections to Exhibit Lists                                    July 8, 2024
       Parties to Exchange List of Motions in Limine for
                                                                      June 24, 2024
       Conferral (3 maximum per J. Bibas Order)
       TR to send ROSS draft Pretrial Order and Draft Jury
                                                                      July 2, 2024
       Instructions and Verdict Form
       Parties to Exchange Motion in Limine Opening Briefs            July 3, 2024
       Parties to Exchange Mediation Statements                       July 8, 2024
       ROSS to respond to Pretrial Order, Jury Instructions and
                                                                      July 16, 2024
       Verdict Form
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      Parties to Exchange MIL Answering Briefs                     July 18, 2024
      Mediation Deadline                                           July 18, 2024
      Parties to Exchange MIL Reply Briefs                         July 25, 2024
      Pretrial Order Filed (Includes MILs)                         July 29, 2024
      Jury Instructions and Verdict Form Filed                     July 31, 2024
      Pretrial Conference                                          August 8, 2024


 MORRIS, NICHOLS, ARSHT & TUNNELL LLP             POTTER ANDERSON & CORROON LLP

 /s/ Michael J. Flynn                             /s/ David E. Moore

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 Attorneys for Plaintiffs Thomson Reuters         Attorneys for Defendant ROSS Intelligence Inc.
 Enterprise Center GmbH and West Publishing
 Corporation

June 21, 2024


      IT IS SO ORDERED this 24th day of June, 2024.



                                                   __________________________________
                                                   The Honorable Stephanos Bibas
                                                   U.S. Court of Appeals for the Third Circuit




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